      [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]

                UNITED STATES COURT OF APPEALS
                     FOR THE FIRST CIRCUIT
                                         

Misc. No. 98-9005

                            IN RE:

                        BRIAN G. JUNG,
                            Debtor.

                    DANIEL BRITTON, ET AL.,

                    Plaintiffs, Appellees,

                              v.

                        BRIAN G. JUNG,

                     Defendant, Appellant.
                                         

          APPEAL FROM THE BANKRUPTCY APPELLATE PANEL

                     OF THE FIRST CIRCUIT
                                         

                            Before

                    Torruella, Chief Judge,
               Selya and Stahl, Circuit Judges.

                                         

Mel Dahl on Motion for Waiver of Filing Fee for debtor.
James P. Keane and Keane &amp;amp; Klein on Motion for Waiver of Filing Fee for
appellee Daniel Britton.
Steven M. Brody and Brody, Jacobs &amp;amp; Fitzgerald on Motion for Waiver of
Filing Fee for appellees Robert and Peter Foster.

                                         

                            May 5, 1998
                                         

       Per Curiam.  Brian G. Jung seeks to appeal in forma
pauperis from the bankruptcy court's ruling that his debt
arising from a state housing court's judgment under Mass. Gen.
Laws ch. 231,  6(f), is non-dischargeable under 11 U.S.C. 
523(a)(6).  For the reasons given in the Bankruptcy Appellate
Panel's Order Dismissing Case, dated January 23, 1998, Jung's
request to proceed IFP is denied and the appeal is dismissed.
See 28 U.S.C.  1915(e)(2)(B)(i).
